           Case 2:20-cv-00966-NR Document 81 Filed 07/13/20 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


Donald J. Trump for President, Inc., et.al.,    :
              Plaintiffs                        :       CIVIL ACTION
                                                :
                V.                              :       NO. 2:20-cv-966
                                                :
Kathy Boockvar, et.al.                          :
            Defendants                          :

Franklin County Board of Elections’ Joinder in Centre County Board of Elections’ Response
 to Plaintiffs’ Motion for a Speedy Declaratory Judgment Hearing and Expedited Discovery

        Defendant Franklin County Board of Elections (hereinafter, “Franklin County”) hereby

formally joins the Response to Plaintiffs’ Motion for a Speedy Declaratory Judgment Hearing and

Expedited Discovery filed by Defendant Centre County Board of Elections. (Doc. 80). Consistent

with this joinder, Franklin County generally does not oppose the expedited disposition of this case,

but asks that the discovery requested by Plaintiff be denied in light of the Counties’ forthcoming

reports to the Pennsylvania Department of State.

        Franklin County reserves all rights, including but not limited to defenses and objections as

to venue, service, and personal jurisdiction. The filing of this Notice of Joinder is subject to, and

does not waive any, such defenses and objections.




                                                    1
         Case 2:20-cv-00966-NR Document 81 Filed 07/13/20 Page 2 of 3




                                    Respectfully submitted,

                                    Lavery Law

                                    By: _/S/Frank J. Lavery, Jr.
                                    Frank J. Lavery, Jr., Esquire
                                    Attorney No. 42370
                                    Andrew W. Norfleet, Esquire
                                    Attorney No. 83894
                                    Stephen B. Edwards, Esquire
                                    Attorney No. 326453
                                    225 Market Street, Suite 304
                                    P.O. Box 1245
DATE: July 13, 2020                 Harrisburg, PA 17108-1245
                                    (717) 233-6633 (Telephone)
                                    (717) 233-7003 (Facsimile)
                                    flavery@laverylaw.com
                                    anorfleet@laverylaw.com
                                    sedwards@laverylaw.com
                                    Attorneys for Franklin County Board of Elections,
                                    only




                                       2
           Case 2:20-cv-00966-NR Document 81 Filed 07/13/20 Page 3 of 3




                                 CERTIFICATE OF SERVICE


        I, Aimee L. Paukovits, an employee with the law firm of Lavery Law, do hereby certify

that on this   13th   day of July, 2020, I served a true and correct copy of the foregoing Entry of

Appearance via ECF to all counsel of record:



                                              /s/ Aimee L. Paukovits_______________
                                              Aimee L. Paukovits, Legal Assistant to
                                              Frank J. Lavery, Jr., Esquire


This document has also been electronically filed and is available for viewing and downloading
from the ECF system.




                                                 3
